Case 24-12445   Doc 24-1   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Exhibit
                                    Page 1 of 2



                               EXHIBIT 1
Case 24-12445        Doc 24-1      Filed 12/19/24 Entered 12/19/24 16:30:11       Desc Exhibit
                                            Page 2 of 2



                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION


 In re:
                                                     Chapter 11
 WATER’S EDGE LIMITED                                Case No. 24-12445-CJP
 PARTNERSHIP,

                               Debtor.


                          ORDER DISMISSING CHAPTER 11 CASE

          Upon the Motion of DIV OA Lender, LLC for Entry of an Order Dismissing Debtor’s

Chapter 11 Case [Dkt. No. __] (the “Motion”) of DIV OA Lender, LLC (“DIV OA”); and this

matter being a core proceeding under 28 U.S.C. §157(b); and adequate notice having been given

and no other or further notice being necessary; and this Court having considered the Motion and

accompanying Declaration of Robert Kubica in Support of Motion of DIV OA Lender, LLC for

Entry of an Order Dismissing Debtor’s Chapter 11 Case; and after due deliberation thereon and

good and sufficient cause being shown, and having held a hearing on the matter on _________,

202_ and for the reasons set forth on the record, and the Court having determined that dismissal

of this bankruptcy case is in the best interest of creditors,

          NOW IT IS HEREBY ORDERED:

          1.    The Motion is GRANTED, as set forth herein.

          2.    The above-captioned case commenced under chapter 11 of the Bankruptcy Code is

hereby dismissed for cause pursuant to 11 U.S.C. 1112(b).

Dated: ____________________
Boston, Massachusetts
                                                ______________________________________
                                                THE HONORABLE CHRISTOPHER J. PANOS
                                                UNITED STATES BANKRUPTCY JUDGE
